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        8    DANIEL J. TANNER, an              }    Case Number             (a f/4 cV ()iO])-·Tc_
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             Individual citizen,       }
        9                  Plaintiff   }            COMPLAINT FOR CIVIL RIGHTS,
                                       )            RECKLESS INTERFERENCE WITH
        10       vs.                   )            ECONOMIC RELATIONS, VIOLATION
                                       }            OF INTERSTATE COMMERCE CLAUSE,
        11   VICKI HIGHTOWER, AMY ZETA }            CONSPIRACY.
             RIVERSIDE COUNTY OF       }
        12   CALIFORNIA, JOHN AND JANE )                 Jury Trial Requested
             DOES', 1 THROUGH 10.      )
        13                                     )
                          Defendants.          )
        14

        15         Plaintiff alleges;

        16                                     1.

        17         That this court has jurisdiction pursuant to Title 42, Section 1983,

        18   and Title 28, Section 1331, and the Constitution of the United States.

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3                                      2.

4           That plaintiff is a citizen of the United States and the sole owner of

5     U.S. Patent, Number USRE 44386 E, a true copy of which is attached to this

6    complaint. That said patent is for a unique long range target device used by

7    sportspersons, normally at rifle ranges throughout the United States and

8    the state of California, and has been so used for almost twenty (20} years

9    without incidents of injury or damage to private property when directions

10    for the device are followed according to the instructions included when it

11    is sold. The purpose of the device is to allow a person to see from a long

12   distance (normally 100 yards or more} if their rifle shots are hitting a target

13    and where, thereby allowing an accurate method of sighting in a hunting

14   rifle. The target device cannot be activated by a pistol bullet but

15   by rifle fire only. The target device contains two inert substances that when

16   mixed by the user, enables the device to break apart with a loud sound, and

17 expel a cloud of water vapor that can be observed by the shooter when the

18 target is struck by the rifle bullet. The device cannot create fire or fires.

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1                                     3.

2                        STATEMENT OF THE FACTS

3          That defendant Vicki Hightower works for the office of the

4      Riverside County office for the District Attorney, and on or about

5      March 1, 2013 notified plaintiff by letter that the patented device

6     described above was unlawful to be sold or used in the county of

7     Riverside as well as in the state of California, and did so by hiding behind

8    the color of law and authority. That defendant Hightower was acting at all

9    times within the scope of her employment, but outside the scope of her

10   authority at all times alleged herein, as no law(s} exist in California that

11   makes plaintiff's patented target location device unlawful in any way,

12   and that the device itself contains only inert materials that must be mixed

13   together before the device works and expels its sound and clouds of water

14   vapor upon impact by a bullet fired from a rifle at long range.

15   That defendant Hightower has on her own without authority, had declared

16   by 11 mixing" the two inert materials described above constitutes bomb

17   making and is thereby a crime to either possess the device or use it. That

18   to threaten plaintiff, defendant Hightower notified plaintiff by letter that

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                                        4.

1    if plaintiff shipped or caused to be shipped into the state of California the

2    patented device that she would have plaintiff arrested in the state of Oregon

3    for doing so, even though she knew or should have known that there were

4    no laws in her state making the device unlawful to own or use at any time by

5    anyone now or in the last two decades. Further, defendant had caused

6    numerous law enforcement agencies to go in to retail establishments in

7    Riverside County who had ordered the devices, marketed under the name of

8    Tannerite, removed from their store shelves causing mass product returns

9    of the product and demands for refunds. However, many such stores

10   refused to stop selling the device until such time as defendant or Riverside

ll   county provided the laws or regulations making the device unlawful, which

12 to this day has not been done, and cannot be done by Ms. Hightower or the

13 parties ordered by her, as no such law or regulations exist banning Tannerite

14 targets in California that would allow the named defendants to act legally,

15 and not in the arbitrary and capricious manner alleged by plaintiff herein.

16

17                                      5.

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1        That to further what plaintiff alleges is a conspiracy by defendant

2    Hightower, defendant caused a customer who had purchased the device

3    legally at a store to be arrested on a bomb making charge alleging that

4    the person had followed the directions to make the device work at a

5    shooting range to operate correctly, which is the mixing together of two

6    inert substances to create the noise and water vapor discharge once it

7    is hit by a bullet fired from a rifle. That customer, a one Jeremy Ingram

8    is currently facing prison based upon trumped up charges by defendant

9    Hightower because he was using plaintiff's patented device, which is the

10   only such device on the market that does not cause fire or damage to

11   private property, unlike many other such devices on the market today.

12   That defendant assigned this case to defendant Amy Zeta who today is

13   prosecuting Mr. Ingram for mixing two inert substances together, but not

14   for buying or possessing the patented device, which is alleged to be a

15   safe method to locate rifle targets at firing ranges, unlike many other such

16   products currently for sale in the state of California. That defendant Zeta

17   like defendant Hightower has been acting within the scope of her job, but

18   outside the scope of her authority, as no law exists making the device un-

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1     lawful to own or to use in California, or in federal law for that matter.

2     That defendant Zeta's ill-advised prosecution of Jeremy Ingram is a

3     ruse on him as well as all citizens of California because defendants to-

4     gether are attempting to make law via the courts to give the impression

5     that plaintiff's patented device is unlawful to own or to use.

6

7                                       6.

8                                 COUNTONE
                                  (Civil Rights)
9                      Title 42, Section 1983 violations

10           That defendant Hightower has violated plaintiff's rights by making

11   threats of arrest by letter if his invention was sold and shipped into California

12   which violated plaintiff's rights to commerce and the fruits of his invention in

13 addition to being a violation of the United States Interstate Commerce Clause

14   the I. C. C. as such shipments are made interstate from Oregon to California,

15   by her ordering purchases of the targets to be returned to Oregon within 30

16   days of her order to do so to various retail outlets in Riverside County. That

17   defendant acted at all times under the color of law and authority wrongfully.

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1            That plaintiff has been damaged by the wrongful actions of

2      defendant Hightower all to his general damages in the sum of one

3    million dollars for the anger fear, loss of sleep defendant has experienced as a

4    result of the aforementioned allegations against this defendant since 2013.

5

6                                        7.

7                             COUNTTWO
                              (Conspiracy)
8            That defendant Amy Zeta using her office as a prosecutor has

9    conspired with defendant Hightower to try Jeremy Ingram as a criminal

10 for mere possession of a lawful target location device and by following the

11    instructions given to him to make it operable at a rifle range in the state of

12    California, Riverside County. That because there are no current laws that

13    governs the Tannerite target location device, its possession or its use, that

14    defendant is a willing participant in a plot to make it appear that plaintiff's

16 patented device is illegal and a crime to possess or use, constituting a con-

17 spiracy of the worst kind all to plaintiffs general damages in the sum of

18 one million dollars for the outrage plaintiff experienced upon knowledge of
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1    that an ordinary citizen is being prosecuted for using plaintiff invention

2    and following the directions on how to make a lawful product work properly

3    at a rifle range. Plaintiff has been damaged in the sum of $100,000 in general

4    damages for anger, loss of sleep and severe worry resulting from this trial.

                                       8.
5                                COUNT THREE
                  (Reckless Interference with Economic Relations)
6

7        That the aforementioned allegations of defendant Hightower's actions

8      constitute reckless interference with plaintiff's economic relations in that

9      he is losing royalties caused by the return of the target devices back to his

10    state from California resulting from defendants actions that are not based

11    on law; but on defendant's whims. That plaintiff has been damaged by the

12    un-warranted actions by defendant Hightower in the form of general

13    damages in the sum of $1,000,000.00 for the anger, loss of sleep and worry

14    plaintiff has been subjected to by defendant Hightower since 2013 as

15    alleged above.
                                        9.
16                                COUNT FOUR

17              (Violations for the Interstate Commerce Act)

18        That defendant Hightower's threat to have plaintiff arrested if his
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 1   patented device was not prevented from being shipped into the state

 2 of California by the plaintiff, which action by her is a violation of the ICC

 3 Interstate Commerce Code of the United States. Further, plaintiff is now

 4 entitled to general damages in the sum of $100,000.00 for his worry and

 5 fears that defendant's threats would be carried out in 2013 and in 2014.

 6

 7                                      10.

 8                               COUNT FIVE

 9           That the named defendants Hightower and Zeta were at all times

10    employees of The County of Riverside in the state of California and as such,

11    county is liable for their arbitrary and capricious actions as alleged in this

12    complaint to the plaintiff for general damages in the sum of one million

13    dollars for his months of worry, fear and loss of sleep caused by defendant's

14   unending assault on his invention and patent all based on theory and belief,

15   and without the backing of any federal of state of California law making the

16 target locating device unlawful to own or to use.

WHEREFORE: Plaintiff prays for the following relief to wit;

17.   That plaintiff be awarded the sum of $1,000,000 for general damages
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 1    for anger, loss of sleep, severe worry as alleged in the complaint in
      Count One, for her violations pursuant to 42USCA Section 1983.
 2

 3       That plaintiff be awarded the sum of $1,000,000 in the form of general
       damages for anger, loss of sleep and severe worry as alleged in the
 4     complaint under Count Two, conspiracy against defendants Hightower and
       Amy Zeta.

 5        That plaintiff be awarded the sum of one million dollars in the form of
        general damages for loss of sleep, serious anger and severe worry that
 6      was a result of defendant's reckless interference with plaintiff's economic
        relations as alleged in the complaint, Count Three.
 7

 8        That plaintiff be awarded the sum of $100,000 in the form of general
        damages for the violation of the U.S. Interstate Commerce resulting from
 9      defendant Hightower's threat to have plaintiff arrested if his patented
        target device continued to be shipped from Oregon to California, as that
 10      was alleged in the complaint under Count Four.

 11         That plaintiff be awarded the sum of one million dollars in the form of
         general damages as alleged against Riverside County in Count Five for
 12      severe emotional distress which took the form of anger, loss of
         sleep, bad dreams and general worry resulting from the wrongful acts by
 13      the county employees cited in this complaint.

 14
          Plaintiff be awarded his costs and disbursements and any other relief
 15       that equity would provide him or as this court should deem proper
           under the circumstances. Further, that a jury be empaneled to try this
 16        case.

 17                               Respectfully submitted by,

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                                              The Director of the United States
                                               Patent and Trademark Office
                                             Has received an application for the reissue
                                             of a patent. The title and description of the
                                             invention are enclosed. The requirements of
                                             lm·r have been complied with, and it has
                                             been determined that a reissue patent on
                                             the invention shall be granted under the
                                             law.
                                             Therefore, this
                                                             United States Patent
                                              Grants to the person(s) having title to this
                                             patent the right to exclude others from mak-
                                              ing, using, offering for sale, or selling the
                                              invention throughout the United States of
                                             America or importing the invention into the
                                              United States ofAmerica, and if the inven-
                                              tion is a process, of the right to exclude oth-
                                              ers from using, offering for sale or selling
                                              throughout the United States ofAmerica, or
                                              importing into the United States of
                                             America, products made by that process,
                                             for the unexpired part of the term of the
                                              original grant, subject to the payment of
                                              maintenance fees as provided by 35 U.S. C.
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